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                                                       THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   VIRGIL ARMSTRONG,                                        CASE NO. C18-0845-JCC
10                              Plaintiff,                    ORDER
11          v.

12   DEPUTY C. WHALEN, et al.,

13                              Defendants.
14

15          This matter comes before the Court on the parties’ stipulated motion for a Rule 35
16   examination (Dkt. No. 75). Having thoroughly considered the parties’ stipulated motion and the
17   relevant record and finding that Plaintiff Virgil Armstrong’s mental condition is in controversy
18   and that there is good cause, the Court hereby GRANTS the motion. A Rule 35 examination of
19   Plaintiff Virgil Armstrong may be conducted subject to the following terms and conditions:
20          1.       The parties agree that a Federal Rule of Civil Procedure 35 examination of Plaintiff
21
     Virgil Armstrong shall take place on:
22
            Date:           Monday, February 1, 2021
23          Time:           1:00 p.m. PST
24          Location:       Northwest Physical Medicine
                            801 Pine Street, Suite 100
25                          Seattle, Washington 98101
26          Physician:      Dr. Russell Vandenbelt


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                            NOTE: By mutual agreement of all parties, this examination will be
 1                          conducted via remote video conferencing
 2
            2.       The Federal Rule of Civil Procedure 35 examination by Dr. Vandenbelt shall
 3
     conclude no later than four (4) hours later, excluding reasonable breaks. The examination shall
 4
     include administration and completion of the MMPI-2-RF (short form of the MMPI) and an
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 6   interview. The remote administration of the MMPI-2-RF shall be accomplished by Dr.

 7   Vandenbelt reading the test questions and having Plaintiff Armstrong enter the answers on an

 8   answer sheet emailed to his representative for printing before the testing. The examination shall
 9
     not be audio or video recorded by any party, except where strictly necessary to comply with
10
     mutually agreed upon remote video conferencing requirements.
11
            3.       No party shall be permitted to have a representative present during testing. During
12
     the interview portion of the examination, Plaintiff Armstrong may have a representative present;
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14   however, the representative shall not be related to Plaintiff and shall not be a friend of Plaintiff.

15   The representative shall remain silent at all times during the interview.
16          4.       Fourteen (14) days prior to the examination, Plaintiff Armstrong’s counsel shall
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     inform Defendants’ counsel via e-mail of the name of the representative, the representative’s e-
18
     mail address and the representative’s relationship to Plaintiff. The Federal Rule of Civil Procedure
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     35 examiner shall send the MMPI-2-RF answer sheet referred to in paragraph 4 above by e-mail
20

21   directly to Plaintiff’s designated representative to the e-mail address identified by Plaintiff.

22   Defense counsel will inform the examiner of the name of Plaintiff’s representative and the

23   representative’s e-mail address prior to the examination.
24          5.       On completion of the exam on February 1, 2021, Plaintiff’s representative shall
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     return the completed MMPI-2-RF answer sheet to the examiner by one of the following means:
26


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                  •   Scan and return via e-mail to the examiner at ravmd22@me.com; or
 1
                  •   Return by first class mail to: Russell A. Vandenbelt, M.D.
 2                                                   11201 SE 8th Street, #105
                                                     Bellevue, WA 98004
 3
                      or
 4                •   Take a digital photograph of the answer sheet, e-mail the digital image to the
 5                    examiner at ravmd22@me.com and send the original answer sheet by first class
                      mail to the address indicated above.
 6
            6.        Defendants shall deliver to Plaintiff’s counsel a copy of Dr. Vandenbelt’s report
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     no later than fifty (50) days following the examination.
 8
 9          7.        Pursuant to Federal Rule of Civil Procedure 35(b)(2), the report must be in writing

10   and must set out in detail the examiner’s findings, including diagnoses and conclusions.

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12          DATED this 11th day of January 2021.




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                                                            John C. Coughenour
16                                                          UNITED STATES DISTRICT JUDGE
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